Case 1:01-CV-0124O-.]DT Document 45 Filed 06/2

 
 

agelon

CJA 20 A}’PO|N'I`MENT OF AND AU'I`HOR['I`Y TO PAY COURT A|’PO|NTED COUNSEL

g§iD 58

 

1. ClRJD|ST./Dl\". C`ODE 2. PERSON REPRESENTED
TNW Ballard, Angela

 

VOUCHE`.R NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1 :01~001240-001
7. lN CASE¢'MA'T'I`ER OF (Case Namt) S. PAYM ENT CATEGORY 9. TYPE PERSON REPRESENTED 10 REP RE`,SENTAT|ON TYPE a
{Sce. lnslr_uc£it!|ss)_} r
U‘S. v. Eallard Felony Adult Defendant I~labt:<tsv°tppr:§§_k -n
ll. OFFENSE(S) CH ARCED (Ciie U. S. Cudt:, Tit|e & Sectinn} lrmnre than one offense list (np to live) major nfl'mses charged according to severity orofrense, ` - ' §
l) 21841A=CD.F -- CONTROLLED SUBSTANCE- SELL DISTRIBU TE, OR DISPENSE ,;," )_:_.- .'§5:
-~-t AT" _.:4 m
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tz, ATToR.NEY's NAME mm wm mt mt name.ir.n..mng ...ywrn.] 13. COURT 0Rt)ER "'," C' "`"
AND MAtLtNG ADDRESS ® 0 Appoinn"g comes ij c culcmm§¢t “ .C/? '~:'
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LAW FiRM _ [] P sum For pnm-1 mooney E Y standby Cn -§d-
P . . : Cf$ m(:
p'O_ BOX 2163 rtorAttnrney s Name m~'”\ *~1 §§
JACI<SON TN 38302 opa-mm mm g §3`<; ___
[] Becnose the shove-named person represented hat testified under oath or has w
otherwise satisfied this court that he or she iiilx finsncin||y unable to employ counsel and
Tc|eph°m. Numhen (1) does not wish to waive counse|, snd because the interests ofjnstice in require. the
_ attorne srne appears |tt item 12|1 appointed to represent this person in this case.
l4. N AME AND MAIL]NC AD[)RESS UF LAW FlRM (onl_v provide per instructiong] or
A. RUSSELL LARSON LAW FIRM ij b _
P‘O' BOX 2163 Signac r t' 'd' .I dl'alorr o an tth C t
ll l fl'il lllg ll Cl ll`ll' 0|' y F ¢'r 0 € |)UI'
JACKSON TN 38302 q/tQ/)oni
Datu()rder Ntznc Pro Tunc Date
Repayment or partial repayment ordered from the person represented for this service al
lime ofappolntmenl. m YES i:i NO
CLA|M FOR SERV!CES AND EXPENSES ` _ _ "`.\'j FOR COURT USE`ONLY
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CLAIMED HOURS AMOUNT
l5. a. Arraignment and/or Plea
b. Bai| and Detenlion Hearings
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C et Scntencing Hearings
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(Rate per hour = $ ) TOTALS:
lo. a. Interviews and Confcrences
0 . . . .
ill b. Obtatntng and reviewtng records
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c (Rai€ pt:r hour = 5 } TOTALS:
l‘I. Travel Expenses {|udging, parking, meals, mileage, etc.)
lS. Other Expenses (other than expert. transcripts, etc.)

 

 

 

 

 

GRAND TOTALS (CLA]'.MED AND ADJUST'ED)! " - =` "

 

 

 

 

 

FROM _______ TO

19. CERTIF|CAT|ON OF ATTORNEY.'PAYEE FOR THI'_". PER|OD O F SERVICE

lFOTl|E`,R 'TH

 

1|]. APPO]N'['MENT TERMINAT|ON D!\TE 21.

CASF. DlSFOSlTlOt\
AN CASE COM?[.ETION

 

 

ll C LA[M STATUS ‘] F|niti Pttyment m lnler|m Payment Numhcr
t)ther than front the court have you, or lo)our knowledge has anyone else.
rcprescntstlon.’ ‘:] YES m N() |l'yes give details on additional sheets

l swear or affirm the truth or correctness of the above slatements.

Have you pretious|y applied to lltcl court for compensation ond.'or remimburtement for this casc?
received payment {compensation or anything or value) front any other source |n connection with this

ij Supplementa| l"aymettt

I:iYES 1:| NO

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APPROVED FOR PAYMENT- COURT USE ONLY "_-1_ z " -"

 

23. lN COURT COMP. 24. OUT OFCOURT COMP.

25. TRAVEL EX PENSES

16. OTHER EXPENSES

2'1'. TDTA[..AMT. AFPR!CERT

 

ZS. S|GNATURE OF THE PRES!D|NG .|UD]CIAL OFFlCER

DATE

ZRa. .I'UDGE f MAG. .]UDCE COT)E

 

29. lN COURT COMP.

 

 

]i]. OUTOF COURT COMP. 31. TRAVEL EXPENSES

32. OTHER EXPENSES

33. 'l`DTAL AMT. APPRO\'ED

 

approved' m eseess ofthe statutory threshold sntrtunl.

 

34.SIGNAT1_1RE OF CH]EFJUDGE. COURT OFAPF EALS (OR DEI.EGATE) Payment

DATE

 

343. JUDGE C()DE

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UNITED sTTEAs DISTRIC COURT - WESTER D's'TRCT oFTENNEssEE

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P.O. Box 2 1 63

Jackson7 TN 3 8302--2 l 6

Honorablc J ames Todd
US DISTRICT COURT

